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October 19, 2020


VIA ECF

Hon. Jesse M. Furman
United States District Court for the
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Re:     In re Citibank August 11, 2020 Wire Transfers, No. 20 Civ. 06539 (JMF) (S.D.N.Y.)


Dear Judge Furman:


      I write on behalf of Defendants in response to Citibank’s letter motion to the Court dated
October 16, 2020 to file an excerpt of a deposition transcript under seal.
       Defendants consent to the public filing of the deposition transcript excerpt appended to
Citibank’s opposition to the pending motion to compel. Rather than meet and confer with
Defendants in advance of filing that opposition, as required by Your Honor’s Individual Rules,
Citibank first identified the excerpt to Defendants at 7:55 pm on Friday evening, which did not
allow sufficient time to obtain appropriate approvals prior to Citibank’s filing that evening.
.
                                                     In light of this, the motion to seal is denied. The Clerk of Court
Respectfully submitted,
                                                     is directed to terminate ECF No. 115 and to convert ECF No. 116
/s/ Adam M. Abensohn                                 to unrestricted public view. SO ORDERED.
Adam M. Abensohn

cc: Counsel of Record (via ECF)


                                                                                            October 20, 2020

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